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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR05-00182-MJP-JPD
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   MARK GREGORY CARILLO,                )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An initial hearing on a petition for violation of supervised release was held before the

14 undersigned Magistrate Judge on May 30, 2006. The United States was represented by

15 Assistant United States Attorney Vincent T. Lombardi, and defendant by Mr. Ralph Hurvitz.

16 The proceedings were recorded on cassette tape.

17          The defendant had been charged and convicted of Conspiracy to Make and Pass False

18 and Fictitious Securities, and on or about March 24, 2006, was sentenced by the Honorable

19 Marsha J. Pechman to a term of five (5) years of supervised release.

20          The conditions of supervised release included the requirements that the defendant

21 comply with all local, state, and federal laws, and with the standard conditions. Special

22 conditions imposed included, but were not limited to, substance-abuse and mental-health

23 treatment participation, consent to search and seizure, sixty (60) days of home confinement,

24 maintaining a single checking account in his true name, no new credit, no possession of any

25 driver’s license, social security number, or birth certificate in any name other than his true

26 name of Mark Carillo, attend Narcotics Anonymous meetings once a week for four (4)

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01 months, financial disclosure, and restitution.

02          In a Petition for Warrant or Summons dated May 4, 2006, U.S. Probation Officer

03 Felix Calvillo, Jr. asserted the following violations by defendant of the conditions of his

04 supervised release:

05          Violation No. 1: Using cocaine on or before April 28, 2006, in violation of the

06 general condition that he refrain from any unlawful use of a controlled substance and

07 standard condition No. 7.

08          Violation No. 2: Failing to attend Narcotics Anonymous meetings once a week for

09 four (4) months, in violation of special condition No. 15.

10          Violation No. 3: Possessing a Washington State identification card in the name of

11 Tony Lee Smith, in violation of the special condition No. 14 that he not possess identification

12 in any name other than his true name of Mark Carillo.

13          The defendant was advised of the allegations, and advised of his rights. Defendant

14 admitted to the violations, and waived any rights to an evidentiary hearing as to whether they

15 occurred.

16          I therefore recommend that the Court find the defendant to have violated the terms

17 and conditions of his supervised release as to Violations No. 1, 2, and 3, and that the Court

18 conduct a hearing limited to disposition. A disposition hearing will be set before the

19 Honorable Marsha J. Pechman at a date to be determined.

20           Pending a final determination by the Court, the defendant has been detained.



                                                         A
21          DATED this 30th day of May, 2006.

22
                                                         JAMES P. DONOHUE
23                                                       United States Magistrate Judge
24
     cc:    District Judge:               Honorable Marsha J. Pechman
25          AUSA:                         Mr. Vincent T. Lombardi
            Defendant’s attorney:         Mr. Ralph Hurvitz
26          Probation officer:            Mr. Felix Calvillo, Jr.

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